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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

       UNITED STATES of                     :
       AMERICA,                             :
                                            :
             Plaintiff,                     :
                                            :
       v.                                   :
                                            :
       NANCY ZAK, et al.,                   :        Civil Action No.
                                            :        1:18-cv-05774-AT
                                            :
             Defendants.                    :


                                       ORDER

      This matter is before the Court on the United States’ Motion to Dismiss

Defendant Claud Clark, III’s Counterclaim. [Doc. 161.] For the following reasons,

the Motion is GRANTED.

I.    Background

      On December 10, 2019, this Court denied Defendant Claud Clark III’s

(“Defendant” or “Clark”) Motion to Dismiss. (See Order, Doc. 119; Clark Motion to

Dismiss, Doc. 41.) Clark subsequently filed his Answer, and asserted a

Counterclaim, alleging that the United States improperly disclosed his tax return

information, in violation of 26 U.S.C. § 6103 and 26 U.S.C. § 7431. (Clark Answer

and Counterclaim, Doc. 123 at 116.) Clark alleges that “IRS and DOJ Officials made

public statements about Mr. Clark in formal press releases, to the press, and at

speaking engagements that impermissibly disclosed ‘data, received by, recorded
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by, prepared by, furnished to, or collected by the Secretary . . . with respect to the

determination of the existence, or possible existence, of liability (or the amount

thereof) of [Mr. Clark] under [the Code] for any tax penalty, interest, fine,

forfeiture, or other imposition, or other offense.’” (Doc. 123 at 118 (quoting 26

U.S.C. § 6103(b)(2)(A)) (brackets in original).)

      Clark alleges that the Internal Revenue Service (“IRS”) and Department of

Justice (“DOJ”) made at least nine statements that implicate 26 U.S.C. § 6013.

(Doc. 123.) In one example, Clark alleges that on December 19, 2018, the DOJ

Office of Public Affairs disclosed to the general public a press release describing

the Complaint filed in the instant case. (Doc. 123 at 119.) The press release claimed

that Defendants (including Clark, who is named) willfully provided false valuations

of land in pursuit of fraudulent conservation easement tax shelters. (Doc. 123 at

119.) Clark further alleges that in November 2019, the IRS issued several more

press releases or statements to the press that similarly described the IRS and DOJ’s

intent to pursue this case as part of those agencies’ joint interest in stopping what

they consider to be abusive tax avoidance schemes predicated upon knowingly

fraudulent valuations of property. (Doc. 123 at 119–121.) In another example, Clark

alleges that the Deputy Commissioner of IRS Services and Enforcement told the

attendees of the American Institute of CPAs National Tax Conference or a member

of the press that, “I’m very comfortable we will have wins in conservation easement

cases because some of the appraisals are really bad and can’t stand on their own.”

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(Doc. 123 at 122–23.) The other statements highlighted by Clark are similar in both

tone and content, as well as their level of specificity regarding the case and Mr.

Clark’s involvement in it.

       Clark claims that the statements made during December 2018 and

November 2019 by the DOJ and IRS relating to this case violated 26 U.S.C. § 6103’s

prohibition of disclosure of “return information,” and entitle him to relief pursuant

to 26 U.S.C. § 7431. (Doc. 123 at 126.)

II.    Standard of Review

       “A motion to dismiss a counterclaim pursuant to Federal Rule of Civil

Procedure 12(b)(6) is evaluated in the same manner as a motion to dismiss a

complaint.” Great Am. Assur. Co. v. Sanchuk, LLC, No. 8:10-CV-2568-T-33AEP,

2012 WL 195526, at *2 (M.D. Fla. Jan. 23, 2012). To survive a motion to dismiss

under Rule 12(b)(6), “a complaint must contain sufficient factual matter, accepted

as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)). For the purposes of a motion to dismiss, the court must accept all factual

allegations in the complaint as true; however, the court is not bound to accept as

true a legal conclusion couched as a factual allegation. Twombly, 550 U.S. at 555.

“While legal conclusions can provide the framework of a complaint, they must be

supported by factual allegations.” Iqbal, at 679. Although the plaintiff is not

required to provide “detailed factual allegations” to survive dismissal, “threadbare

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recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Twombly, 550 U.S. at 555, 570; Iqbal, 556 U.S. at 678.

III.   Discussion

       “26 U.S.C. § 6103(a) provides generally that tax returns and ‘return

information’ are confidential and may not be disclosed by any officer or employee

of the IRS.” Comyns v. United States, 155 F. Supp. 2d 1344, 1348–49 (S.D. Fla.

2001), aff’d, 287 F.3d 1034 (11th Cir. 2002). The next subsection defines “return

information” to mean:

            [A] taxpayer’s identity, the nature, source, or amount of
            his income, payments, receipts, deductions, exemptions,
            credits, assets, liabilities, net worth, tax liability, tax
            withheld, deficiencies, overassessments, or tax
            payments, whether the taxpayer’s return was, is being, or
            will be examined or subject to other investigation or
            processing, or any other data, received by, recorded by,
            prepared by, furnished to, or collected by the Secretary
            with respect to a return or with respect to the
            determination of the existence, or possible existence, of
            liability (or the amount thereof) of any person under this
            title for any tax, penalty, interest, fine, forfeiture, or other
            imposition, or offense[.]

26 U.S.C. § 6103(b)(2)(A). The statute exempts from the definition any data which

is “in a form which cannot be associated with, or otherwise identify, directly or

indirectly, a particular taxpayer.” 26 U.S.C. § 6103(b)(2); cf. Long v. U.S. I.R.S.,

395 F. App’x 472, 475 (9th Cir. 2010) (“The latter part of the definition of ‘return

information’ is commonly referred to as the Haskell Amendment.”)



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      The definition of “return information” is therefore fairly broad,

encompassing, inter alia, the taxpayer’s identity, or whether the taxpayer’s return

“was, is being, or will be examined or subject to other investigation or processing.”

Taylor v. Pekerol, 624 F. App’x 691, 694 (11th Cir. 2015) (quoting 26 U.S.C. § 6103

(b)(2)(A)); see also Comyns, 155 F. Supp. 2d at 1348–49 (“[R]evealing the fact that

a taxpayer is the subject of a tax investigation constitutes disclosure of ‘return

information.’”) (citing 26 U.S.C. § 6103(b)(2)). “Section 6103(b)(8) defines

‘disclosure’ broadly to include directly or indirectly ‘making known to any person

in any manner whatever.’” Comyns, at 1348–49. The statute grants IRS officers

narrowly defined leeway to make such disclosures in pursuit of their official duties,

saying that they may,

             in connection with [their] official duties relating to any
             audit, collection activity, or civil or criminal tax
             investigation or any other offense under the internal
             revenue laws, disclose return information to the extent
             that such disclosure is necessary in obtaining
             information, which is not otherwise reasonably available,
             with respect to the correct determination of tax, liability
             for tax, or the amount to be collected or with respect to
             the enforcement of any other provision of this title.

26 U.S.C. § 6103(k)(6). “Return information may also be disclosed ‘pursuant to

and upon the grant of an ex parte order by a Federal district court judge or

magistrate [judge]’ and subject ‘to inspection by, or disclosure to, officers and

employees of any Federal agency who are personally and directly engaged in’ (1)

‘preparation for any judicial or administrative proceeding pertaining to the

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enforcement of a specifically designated Federal criminal statute (not involving tax

administration)’; (2) ‘any investigation which may result in such a proceeding’; or

(3) ‘any Federal grand jury proceeding pertaining to enforcement of such a

criminal statute.’” Pekerol, 624 F. App’x 691, 694 (11th Cir. 2015) (quoting § 26

U.S.C. § 6103(i)(1)(A)).

      The subsections make clear that some nonidentifying information may still

be “return information” even if it does not identify a particular taxpayer. Church

of Scientology of California v. I.R.S., 484 U.S. 9, 15–16 (1987). “Subsections

6103(f)(1), (2), and (4), for example, allow the release of returns and return

information to congressional committees, but distinguish between return

information that identifies a taxpayer and return information that does not.” Id.

However, “[return information] does not include data in a form which cannot be

associated with, or otherwise identify, directly or indirectly, a particular taxpayer.”

Id. (quoting § 6103(b)(2)).

      What all this boils down to is that IRS agents, when conducting an

investigation, are “presented with the following rule: Tax return information,

including the fact that a taxpayer’s return is under investigation may not be

disclosed, unless such disclosure is necessary in obtaining information not

otherwise reasonably available, in which case (pursuant to the Secretary’s

regulation) such agent may reveal 1) the taxpayer’s identity, 2) the fact that the

agent’s inquiry pertains to an official investigation, and 3) the nature of that

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investigation.” Comyns, 155 F. Supp. 2d at 1349 (emphasis in original).

      If a federal government employee improperly discloses a taxpayer’s tax

return information, that taxpayer may sue the United States for damages. 26 U.S.C.

§ 7431(a)(1). But, “[a] taxpayer may not recover damages for any disclosure of tax

return information that ‘results from a good faith, but erroneous, interpretation of

[26 U.S.C. § 6103].’” Comyns, 155 F. Supp. 2d at 1349–50 (citing 26 U.S.C.

7431(b)). The good faith exception to Section 7431(a) is judged by an objective

standard, which asks whether agents’ conduct violates “‘clearly established

statutory or constitutional rights of which a reasonable person would have known’”

and does not explore the agent’s subjective intent. Id. (quoting Huckaby v. United

States, 794 F.2d 1041, 1048 (5th Cir. 1986)).

IV.   Analysis

      The first step in analyzing Clark’s Counterclaim – and the United States’

Motion to Dismiss – is to determine whether any of the statements in question did

include return information as contemplated by 26 U.S.C. § 6103. Clark identifies

nine specific statements that he alleges violate the statute. (Counterclaim, Doc. 123

at 118–123.)

      The Government states in its motion that the press releases and other

statements cited by Clark are not disclosures of his return information, and

therefore do not violate 26 U.S.C. § 6103. (Motion to Dismiss, Doc. 161.) The

Government says the first statement cited by Clark “simply parrots allegations

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taken directly from the publicly filed complaint in this action[,]” and that the other

eight statements cited by Clark do not even implicate section 6103 because they do

not contain Clark’s – or anyone else’s – return information whatsoever. (Doc. 161-

1 at 1–2.) The United States characterizes those statements as “general statements

that inform the public of the Government’s efforts to enforce the Internal Revenue

Code and combat abusive syndicated conservation easement transactions.” (Id.)

      Clark responds that “the disclosures were not in fact based on information

publicly available or from the public record, and that the DOJ Press Release in

particular was drafted before the filing of the Complaint and discloses information

not contained in the Complaint.” (Response, Doc. 165 at 3–4.) Clark also points to

his allegations made “on information and belief that United States officials have

made other statements constituting impermissible disclosure of his return

information.” (Doc. 165 at 4.)

      Although the definition of “return information” is broad, it is not unlimited.

Thomas v. United States, 890 F.2d 18, 21 (7th Cir. 1989) (“the definition of return

information comes into play only when the immediate source of the information is

a return, or some internal document based on a return, as these terms are defined

in § 6103(b)(2).”) (C. J. Posner). Return information is that which reveals, inter

alia, the taxpayer’s identity, or whether the taxpayer’s return “was, is being, or will

be examined or subject to other investigation or processing.” Taylor v. Pekerol,

624 F. App’x 691, 694 (11th Cir. 2015) (quoting 26 U.S.C. § 6103 (b)(2)(A)); see

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also Comyns, 155 F. Supp. 2d at 1348–49 (“[R]evealing the fact that a taxpayer is

the subject of a tax investigation constitutes disclosure of ‘return information.’”)

(citing 26 U.S.C. § 6103(b)(2)). Although this case overall does relate to tax

conservation easements and tax return strategies, this does not mean that any

utterance about the case per se discloses a specific individual’s tax return

information or Mr. Clark’s tax return in particular. For example, Clark cites a

November 12, 2019 news release in which the Commissioner of the IRS, Charles P.

Rettig, says, “We will not stop in our pursuit of everyone involved in the creation,

marketing, promotion and wrongful acquisition of artificial, highly inflated

deductions based on these aggressive transactions.” (Counterclaim, Doc. 123 at

120–21.) This statement is full of policy enforcement bravado. But it does not

appear to disclose any specific individual’s return information or identity – but

instead, the IRS’s stated goal of stopping the use of allegedly fraudulent

conservation easements through litigation. To construe this statement as

disclosing Mr. Clark’s tax return information or that his personal return generally

was the subject of investigation, one would have to know that the “aggressive

transactions” upon which people are allegedly seeking the “artificial, highly

inflated deductions” include specifically those that involve or implicate Mr. Clark’s

returns. In other words, one would need to glean from the Complaint not simply

that Clark is one of the persons who allegedly assisted the “aggressive transactions”

– but also, that Clark must have been paid for his alleged assistance, and that his

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tax returns would therefore include information reflecting the income he must

have received in connection with his furtherance of the “aggressive transactions”,

and finally, that his personal tax returns were therefore one of the implicit subjects

of the investigation. As discussed further below, this series of factual inferences

and conclusions is too attenuated, given the actual Counterclaim allegations as

currently plead, to bring Mr. Clark’s Counterclaim squarely within the realm of

section 6103’s prohibitions against disclosure.

      The Complaint alleges that the Defendants caused and assisted other people

to file false or fraudulent information as part of their tax filings related to the

conservation easements. The tax returns focused upon by this case are those of the

clients of the Defendants, not the Defendants themselves. Any references within

the examples cited by Clark which could be construed to reference tax return

information would tend to be referencing such information of a person other than

Clark. (Cf. Complaint, Doc. 1 at 10 (“Copies of Clark’s appraisal reports were

attached to these customers’ filed tax returns.”).) In another example in the

Counterclaim, Clark alleges that on December 19, 2018, the DOJ’s Tax Division

Principal Deputy Assistant Attorney General issued this statement for a press

release: “The [DOJ] is working with our partners in the [IRS] to shut down

fraudulent conservation easement shelters, which in this case were based on

willfully false valuations.” (Counterclaim, Doc. 123 at 119.) This statement speaks

more directly to Clark, as he is one of the parties the Government alleges provided

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false valuations to conservation easement clients in this case. Yet again though this

statement is ultimately referring to the tax return information of the clients

themselves, who used the allegedly false valuations provided by Clark to seek tax

rebates. Clark does not have standing to litigate the disclosure of a third party’s tax

return information on the basis that the third party used information provided to

them by Clark in their own tax return filings.

      Beyond the specific examples provided by Clark, he also alleges on

information and belief that “IRS and DOJ Officials have made other statements

constituting impermissible disclosure of Mr. Clark’s return information.”

(Counterclaim, Doc. 123 at 123.) Generally, in a wrongful disclosure action, the

plaintiff “must specifically allege who made the alleged disclosures, to whom they

were made, the nature of the disclosures, the circumstances surrounding them,

and the dates on which they were made.” Bancroft Glob. Dev. v. United States, 330

F. Supp. 3d 82, 101 (D.D.C. 2018) (quoting May v. United States, No. 91-0650-CV-

W-9, 1992 U.S. Dist. LEXIS 16055, at *6 (W.D. Mo. Apr. 17, 1992) (collecting

cases)). A plaintiff must also plead “what specific ‘return or return information’ an

employee of the United States disclosed that violated § 6103.” Id. This requirement

for specificity does not rise to that of a heightened pleading standard. Bancroft

Glob. Dev., 330 F. Supp. 3d at 10 (“Complaints for the unlawful disclosure of tax

information are not subject to the heightened pleading standard of Rule 9.”) (citing

NorCal Tea Party Patriots v. IRS, No. 13-cv-341, 2014 WL 3547369, at *14 (S.D.

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Ohio. July 17, 2014); and Fostvedt v. United States, 824 F. Supp. 978, 985 (D. Colo.

1993)). The purpose of requiring some specificity in these types of claims is to allow

the Government to analyze the alleged disclosure and determine whether it fell into

one of the exceptions provided for in the statute. Bancroft Glob. Dev., 330 F. Supp.

3d at 101.

      Nonetheless, a plaintiff may still allege a claim only on information and

belief where “the facts are peculiarly within the possession and control of the

defendant, or where the belief is based on factual information that makes the

inference of culpability plausible.” Evangelou v. District of Columbia, 901 F. Supp.

2d 159, 170 (D.D.C. 2012). District Courts have come to different conclusions

regarding the exact breadth of the allowance for pleading on information and belief

in tax return disclosure cases. Some Courts have held that allegations made on

information and belief still must include at least who made the disclosure and

when. See, e.g., May v. United States, No. 91-0650-CV-W-9, 1992 U.S. Dist. LEXIS

16055, at *6 (W.D. Mo. Apr. 17, 1992); Taylor v. Pekerol, No. 14-cv-96, 2016 WL

5172829 (N.D. Fl. Aug. 12, 2016) (Report and Recommendation, adopted in 2016

WL 4618895, at *2 (N.D. Fl. Sept. 6, 2016)); Fedele v. Harris, 69 F. Supp. 3d 313,

321–22 (N.D.N.Y. 2014); NorCal Tea Party Patriots v. I.R.S., No. 13-cv-341, 2014

WL 3547369, *13–14 (W.D. Ohio. July 17, 2014). Yet at least one other Court did

not require that the Plaintiff allege who made the disclosure or when, so long as

the Government was fairly on notice of the elements of the claim. See Strong v.

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United States, No. 98-1452, 1998 WL 990581, at *2–*3 (W.D. La. Dec. 10, 1998)

(even though the complaint did “not specify who made the alleged improper

disclosures to whom, what information was disclosed, and when disclosures were

made,” “there [we]re sufficient facts from which the Government can infer and [be]

put on notice of the elements of a claim of wrongful disclosure under section

7431.”) In the Strong case, although Plaintiff did not supply those specific pieces

of information, he did allege that his wife – herself an IRS employee – was

informed by someone else that the Plaintiff’s tax information was “being ‘openly

and illegally discussed and gossiped about by agents and the employees of the IRS

due to her relationship with him.’” Strong, No. 98-1452, 1998 WL 990581, at *3.

This provided adequate notice to the Government of the elements of the claim, and

enough information for the Government to determine if any exception applied.

      In the instant case, Clark alleges only that “IRS and DOJ Officials have made

other statements constituting impermissible disclosure of Mr. Clark’s return

information.” (Counterclaim, Doc. 123 at 123.) This allegation on its own neither

identifies who made the alleged disclosure, nor when. This allegation further does

not implicate facts which might be “peculiarly within the possession and control of

the defendant,” as it fails to provide any guideposts whatsoever for the Court or the

Government to assess the potential applicability of the exceptions in the statute.

Evangelou v. District of Columbia, 901 F. Supp. 2d 159, 170 (D.D.C. 2012). The

Court finds that the facts in the Counterclaim – as they are currently factually

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asserted – are simply too attenuated or bare to plausibly allege a disclosure of

Clark’s tax return information or that he is personally under investigation based

on his tax return information. As it is, the only tax return information of Clark’s

that might be implicated is that he presumably filed a tax return including the

payment that he presumably received for providing the valuation services that

were used as part of the alleged conservation easement scheme. The only factual

information which therefore undergirds the allegations made on “information and

belief” is that which is inherent to the specific disclosure examples provided by

Clark in the preceding portions of the Counterclaim. Since the Court does not

understand those statements to clearly disclose Clark’s tax return information or

that his personal tax return is under investigation, the add-on allegation made on

“information and belief” cannot be said to be “based on factual information that

makes the inference of culpability plausible.” Id. While the Court would generally

entertain a disclosure claim made on information and belief, the allegation in the

instant case simply lacks a plausible factual basis. Accordingly, Clark has not stated

a claim for relief in the portion of this Counterclaim that is made only on

information and belief.

      As the Court finds that the statements presented by Clark do not plausibly

allege a factual basis for his contention that the Government impermissibly

disclosed his personal tax return information or relatedly, his identity in that

connection, he does not plausibly allege the Government violated of 26 U.S.C. §

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6103 and 26 U.S.C. § 7431. That said, the Court notes that this statute is not

particularly oft litigated, and there is somewhat of a dearth of case law about these

statutes in cases substantially factually similar to this one. The Court recognizes

therefore that it is not impossible that some of the Government’s statements do in

fact implicate Clark’s return information. In particular, those statements cited by

Clark which were made by the Government about this case specifically – as

opposed to those statements made about conservation easements in general – may

turn out to be implicit disclosures of Clark’s tax information under section 6103.

However, the briefing and Counterclaim verbiage currently before the Court are

insufficient to provide the foundation for the claims asserted.

      For these reasons, the Government’s Motion to Dismiss Counterclaim [Doc.

161] is GRANTED, and the Counterclaim (Doc. 123) is dismissed without

prejudice. The Court grants Clark leave to file an Amended Counterclaim that

directly addresses the issues raised by this Order – specifically, how the statements

made by the Government disclose Clark’s tax return information or his identity

and investigation of him personally linked to his tax return – if he so desires.

Clark’s Amended Counterclaim must be filed no later than 21 days from the date

of this Order. Clark does not need to re-file his Answer.




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V.   Conclusion

     For the reasons stated above, the Government’s Motion to Dismiss Clark’s

Counterclaim [Doc. 161] is GRANTED and the Counterclaim is DISMISSED

WITHOUT PREJUDICE.



     IT IS SO ORDERED this 24th day of August, 2020.



                                         ________________________
                                         Amy Totenberg
                                         United States District Judge




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